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      In re: YARI FILM GROUP RELEASING, LLC                             CHAPTER 11
                                                                        CASE NUMBER 2:08-bk-32208-BR
                                                  Debtor(s).


       Note: When using this form to indicate service of a proposed order, DO NOT list any person or entity in Category I.
  Proposed orders do not generate an NEF because only orders that have been entered are placed on the CM/ECF docket.



                                       PROOF OF SERVICE OF DOCUMENT
  I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                               1999 Avenue of the Stars, Suite 1700
                                                 Los Angeles, California 90067

  The foregoing document described as SUPPLEMENTAL MEMORANDUM OF POINTS AND AUTHORITIES IN
  SUPPORT OF COMMITTEE’S MOTION FOR ORDER COMPELLING WINTHROP COUCHOT TO COMPLY
  WITH WRIT OF EXECUTION AND LEVY [Docket No. 296] will be served or was served (a) on the judge in chambers
  in the form and manner required by LBR 5005-2(d); and (b) in the manner indicated below:

        I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to
  controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court via
  NEF and hyperlink to the document. On May 12, 2010, I checked the CM/ECF docket for this bankruptcy case or adversary
  proceeding and determined that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at
  the email address(es) indicated below:

                                                                                  Service information continued on attached page



        II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity served):

  On May 12, 2010, I served the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy case or
  adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States Mail, first class,
  postage prepaid, and/or with an overnight mail service addressed as follows. Listing the judge here constitutes a declaration
  that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                  Service information continued on attached page

        III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for
  each person or entity served): Pursuant to Fed. R. Civ. Proc. 5 and/or controlling LBR, on                           , I served
  the following person(s) and/or entity(ies) by personal delivery, or (for those who consented in writing to such service
  method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that mailing to
  the judge will be completed no later than 24 hours after the document is filed.

                                                                                  Service information continued on attached page

  I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

      May 12, 2010           Alicia Clough                              /s/Alicia Clough
      Date                     Type Name                                Signature




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                    1
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                    2
                             •   David E Ahdoot        dahdoot@bushgottlieb.com, tjimines@bushgottlieb.com
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                             •   Paul S Arrow      parrow@buchalter.com, ifs_filing@buchalter.com
                    4
                             •   Sara Biegel     sbiegel@szabo.com
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                             •   Brian L Davidoff      , calendar@rutterhobbs.com;jreinglass@rutterhobbs.com
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                             •   Carl Grumer       cgrumer@manatt.com
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KAYE SCHOLER llp




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                   24        •   Jeffrey S Renzi      jrenzi@ssd.com, clopez@ssd.com;ptsui@ssd.com
                   25        •   J Alexandra Rhim       arhim@buchalter.com, smartin@buchalter.com
                   26        •   Jeremy V Richards       jrichards@pszjlaw.com, bdassa@pszjlaw.com
                   27        •   Bruce S Schildkraut      bruce.schildkraut@usdoj.gov
                   28        •   Jeffrey S Shinbrot     shinbrot@earthlink.net


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                    1          •   Derrick Talerico    dtalerico@loeb.com, kpresson@loeb.com;ljurich@loeb.com
                    2          •   Alan G Tippie      atippie@sulmeyerlaw.com, jbartlett@sulmeyerlaw.com
                    3          •   United States Trustee (LA)    ustpregion16.la.ecf@usdoj.gov
                    4          •   Jason Wallach      jwallach@gladstonemichel.com
                    5          •   Pamela Kohlman Webster       pwebster@buchalter.com
                    6
                        II.        SERVED BY U.S. MAIL OR OVERNIGHT MAIL
                    7

                    8   Served By U.S. Mail:
                    9
                        Chapter 11 Trustee                                      Debtor’s Counsel
                   10   R. Alexander Pilmer                                     David B. Golubchik
                        Kirkland & Ellis LLP                                    Levene Neal Bender Rankin & Brill LLP
                   11   333 South Hope Street                                   10250 Constellation Boulevard, Suite 1700
KAYE SCHOLER llp




                        Los Angeles, CA 90071                                   Los Angeles, CA 90067
                   12

                   13   Debtor                                                  Winthrop Couchot
                        Elizabeth A. Bell                                       Robert E. Opera
                   14   Yari Film Group Releasing, LLC                          Winthrop Couchot Professional Corporation
                        10850 Wilshire Boulevard, 6th Floor                     660 Newport Center Drive, Fourth Floor
                   15   Los Angeles, CA 90024                                   Newport Beach, CA 92660
                                                                                Proposed Counsel to Persik Productions, Inc.
                   16

                   17   J. Scott Douglass                                       Russell Clementson
                        909 Fanning, Suite 1800                                 Office of the U.S. Trustee
                   18   Houston, TX 77010                                       725 S. Figueroa Street, Suite 2600
                                                                                Los Angeles, CA 90017
                   19
                        Penelope Parmes
                   20
                        Rutan & Tucker
                   21   611 Anton Boulevard, Fourteenth Floor
                        Costa Mesa, CA 92626-1931
                   22

                   23   III.       SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL

                   24   Served By Personal Delivery:

                   25   The Honorable Barry Russell
                        U.S. Bankruptcy Court
                   26
                        Roybal Federal Building
                   27   255 E. Temple Street
                        Bin Outside of Suite 1660
                   28   Los Angeles, CA 90012

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